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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION


ANITA EIERSTOCK and JOHN RAMOS,
on behalf of themselves, and on behalf of
all others similarly situated,

       Plaintiff,

v.                                                     Case No. 8:20-cv-0269-KKM-AEP

THE ADMINISTRATIVE COMMITTEE
OF DELTA AIRLINES, INC.,

     Defendant.
____________________________________/

                                             ORDER

       Before the Court is Defendant’s Motion to Transfer (Doc. 17).1 Defendant asks

that this Court transfer the action to the United States District Court for the Northern

District of Georgia because Defendant’s principal place of business is in Atlanta,

Georgia. Plaintiffs filed a notice withdrawing their opposition to transfer. (Doc. 89).

Under 28 U.S.C. § 1404(a), “a district court may transfer any civil action to any other

district or division where it might have been brought or to any district or division to



1
  The Motion to Transfer Venue was made on behalf of Delta Airlines, not the Administrative
Committee, prior to Plaintiffs filing an amended complaint naming the Administrative Committee as
the defendant. (Docs. 17, 21). Because the changed defendant appears to merely be a misidentification
of the proper entity to sue and the Administrative Committee has referred to the Motion to Transfer
as its own, indeed seeking leave to file a reply in support of the motion after the change of defendant
(Doc. 28), the Court construes the Motion to Transfer as a motion made on behalf of the
Administrative Committee.
                                                  1
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which all parties have consented.” Because all parties have consented to transfer,

Defendant’s Motion to Transfer Venue is GRANTED. The Clerk is directed to

TRANSFER this case to the Northern District of Georgia, Atlanta Division, for all

further proceedings. Following transfer, the Clerk is directed to terminate any pending

motions and deadlines and CLOSE the case.

      ORDERED in Tampa, Florida, on May 5, 2021.




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